
216 U.S. 616 (1910)
CHASE
v.
PHILLIPS.
No. 724.
Supreme Court of United States.
Motion to dismiss or affirm submitted March 14, 1910.
Decided March 21, 1910.
ERROR TO THE SUPREME JUDICIAL COURT OF THE STATE OF MASSACHUSETTS.
Mr. Joseph H. Soliday, Mr. Richard Y. FitzGerald, and Mr. Frederic D. McKenney for the plaintiff in error.
Mr. Moorfield Storey and Mr. Ezra Ripley Thayer for the defendants in error.
Per Curiam.
Dismissed for the want of jurisdiction.
